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                                United States District Court
                               for the District of New Jersey


____________________________________________
                                                       :
USA                                                    :

                                                       :        Crim. No. 10-298
                 Plaintiff                             :
                 vs.                                   :        Order of Reassignment
ALONSO BARRAZA-CASTRO, ET AL.                :
                                             :
               Defendant                     :
____________________________________________ :




           It is on this 11th day of September 2012,

           O R D E R E D that the entitled action is reassigned

           from Judge William J. Martini to Judge Dennis M. Cavanaugh.




                                               S/Jerome B. Simandle
                                           Jerome B. Simandle, Chief Judge
                                           United States District Court
